Case 3:24-cv-00383-GC-JBD Document 1-1 Filed 01/22/24 Page 1 of 23 PagelD: 5

ROBIN VINIK (8599)

719 8" AV Apt 2C
BELMAR NJ 07719
908-768-8783

Lay Co- Council for
AILYN K. URUZA, Pro Se

UNITED STATES DISTRICT COURT

DISTRICT OF NEW JERSEY

AVON MUNICIPAL COURT
Vv.
AILYN K. URUZA . NOTICE OF REMOVAL
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Case 3:24-cv-00383-GC-JBD Document 1-1 Filed 01/22/24 Page 2 of 23 PagelD: 6

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Case 3:24-cv-00383-GC-JBD Document1-1 Filed 01/22/24 ‘Page 3 of 23 PagelD: 7

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Case 3:24-cv-00383-GC-JBD Document 1-1 Filed 01/22/24 Page 5 of 23 PagelD: 9

COPY
AVON BY THE SEA MUNICIPAL COURT
701 MAIN STREET
BRADLEY BEACH NJ 07720

STATE OF NEW JERSEY ]

NOTICE OF

V. ] MOTION TO DISMISS

AILYN K URUZA J Ticket Nos 024473,

024474 and 024475

Motion To Dismiss or complete discovery for the following discovery items requested that

were not provided for ticket No 024473

1,

The speed limit reported by the officer is a refutable presumption. Defendant rebutted it by
requesting supporting speed study by the DOT for the state MeEOey where the ticket was

issued. It was not provided.

The case law defining the speed measuring device as a scientific device pursuant to State
v. Boyington 153 NJ Super 252 (1977). A case after the case provided in discovery

presented,. State v. Dantonio (1955)
Officers log book showing tickets for speeding on 7/16/2023

List of any discipline against this officer relating to failure to be truthful or discrepancy of
use of any speed measuring device for the 24 months prior to7/16/2023

Repair history of the speed measuring device for the 24 months prior to7/16/2023.
See State v. Green throughout for discovery discrepancies

Motion to dismiss ticket 024473 because the defendant was charged with 39-4; 98 which
Case 3:24-cv-00383-GC-JBD Document 1-1 Filed 01/22/24 Page 6 of 23 PagelD: 10

is not an offence. There is no lessor included offence so the ticket cannot be amended. See State
y. Green Page 2 footnote.

Motion to dismiss Tickets numbers 024474 and 024475 because in a TERRY STOP for

ticket 024473 even though the officer thought he was filing a legitimate offence! the officer does
not have the Constitutional authority to prolong the stop to find other offenses.

Git, RH

AILYK URZUA | Date: 9/14/2023

Attachment; 1. State v. Green Order from Appellate Division

‘ The Ticket book provided by the state has the wrong offence cited for speeding in the
cover page. The officer was ignorant of the fact that he was wrong. I suggest the court dismiss for
failure to state a cause of action so as not to create a lot of me too’s
Case 3:24-cv-00383-GC-JBD Document 1-1 Filed 01/22/24 Page 7 of 23 PagelD: 11

AVON BY THE SEA MUNICIPAL COURT
701 MAIN STREET
BRADLEY BEACH NJ 07720

] DEFENDANT’S

DEMAND FOR FAIR
TRIAL IN A
CONSTITUTIONAL
COURT OF LAW
STATE OF NEW JERSEY ]
V. ]
|
AILYN K URUZA

1. Therefor, Defendant hereby invokes NJRE 201(d) Requiring this honorable
court to take Judicial notice of all the things referred to in NJRE 201(a), and the

Constitutions of this Country and State.

2. Amendment 14, Paragraph 1 of the UNITED STATES CONSTITUTION
}

| m@, Case 8:24-cv-00383-GC-JBD Document 1-1 Filed 01/22/24 Page 8 of 23 PagelD: 12

| .

3. Defendant may renew her application for an in-person trial, but consistent with|the

Supreme Court Directive, “the judge, not the parties, determines the format of gourt
proceedings;” and ©

4. A copy of this order shall be served electronically to all parties within 3 days.

MICHAEL A, GUADAGNO“J_A.D.
(Retired and temporarily assigned on recall!)

Original: Criminal Division Manager

Copy:' Deferidant, Aflyn K. Urzua,
Monmouth County Prosecutor’s Office
Avon Municipal Court

James Newman, P.J.M.C.

Case 3:24-cv-00383-GC-JBD Document 1-1 Filed 01/22/24 Page 9 of 23 PagelD: 13

states that “....No state... shall... . deprive any person of life, liberty or property,

without due process of law. . .”

3. Due process includes the right to confront witnesses testifying for the
government by among other things cross examining them while observing their
demeanor, and subpoenaing witnesses for the defense (where would the subpoena

require their appearance)

(LG eu . Sa Date; 9/15/2023

ALYLN K URZUA”

Attachments 1. NJRE201
2. Replaces Old Rule 9
Case 3:24-cv-00383-GC-JBD Document 1-1 Filed 01/22/24 Page 10 of 23 PagelD: 14

_!I L &
| JAN 04 2024
PREPARED BY THE COURT
Michael A. Guadagno, J,A.D. (rt, and a)
SUPERIOR COURT OF NEW JERSEY
STATE OF NEW JERSEY, LAW DIVISION ~ CRIMINAL PART
MONMOUTH COUNTY
Plaintiff-Respondent,
Municipal Appeal MA 23-035
v. Avon Municipal Court (1306)
Summons Nos. ABS 024473; 023374} and
AILYN K. URZUA, 024475
Defendant-Appellant, CASE MANAGEMENT ORDER

THIS MATTER having been opened to the court by defendant, Ailyn K, Urzua,
ePpearing pro se and seeking de novo review of the order of the Avon Municipal Court

Hletermining that defendant’s trial on charges of speeding, N.J.S.A. 39:4-98; operating an
pnregistered vehicle N.J.S.A. 39:30-4; and interfering with other vehicles, N.J.S.A. 39:127;
would proceed in a virtual format; and
WHEREAS, on March 30, 2023, the Judicial Council approved internal protocols td
support consistency in implementation of the Supreme Court’s October 27, 2022, Order with

iegard to the format of court proceedings in the trial courts; and

reasonable likelihood of a jail sentence or loss or suspension of license will continue to he

~m

Heard in a virtual format;
THEREFORE, on this 4” day of January 2024, it is ORDERED:

1, Defendant’s request that this court order that her trial be held in-person is DENIE
and

2. This matter is REMANDED to the municipal court for a trial on the above-
referenced charges; and

WHEREAS, these protocols provide that matters in municipal courts that do not invplve

D;

Case 3:24-cv-00383-GC-JBD Document1-1 Filed 01/22/24 Page 11 of 23 PagelD: 15

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1

3. Defendant may renew her application for an in-person trial, but consistent with i
Supreme Court Directive, “the judge, not the parties, determines the format of ¢ourt
proceedings;” and

4, A copy of this order shall be served electronically to all parties within 3 days.

Wechark A. fusdague
MICHAEL A. GU AGNOYJ.A.D.

(Retired and temporarily assigned on recall)

Original; Criminal Division Manager
Copy: Defendant, Allyn K. Urzua,
Monmouth County Prosecutor’s Office

Avon Municipal Court
James Newman, P.J,M.C.

Case 3:24-cv-00383-GC-JBD Document 1-1 Filed 01/22/24 Page 12 of 23 PagelD: 16

BOB VINIK, Pres.
710 8" Av. Apt2C

BELMAR, New Jersey 07719 > DESERVES
2

dot

908 768-8783

February 21, 1995

Hon. Sylvia Pressler, P.J.A.D.

Superior Court, Appellate Division, Part E
Hughes Justice Complex, CN-006
Trenton, N.J. 08625

Re: DOE v, DOE A-4138-93-T2

Dear Judge Pressler:

I assisted Mr. Ron DOE in drafting his brief, researching case law and preparing for trial
before you. As you may recall, I appeared with Mr. DOE at the respondent's table and requested
the Court's leave to aid him in the presentation of his response to the appeal filed by his adversary
and briefed by Amicus ACLU and Rutgers University Constitutional Law Clinic. You did not
object to my assistance and agreed to allow me to remain at council table until the question was
asked, "Was I an attorney?" When I answered in the negative you summarily told me that I was
not allowed to assist Mr. DOE and would have to be seated in the audience. I did not object, at
that time, only because the matter before the court was of extreme importance to a four year old
girl and I did not wish to engage in a debate with you over a collateral issue that would detract
from the seriousness of the matter sub judice. I also felt that we had prepared Mr. DOE

reasonably well to address the Court. We prevailed against formidable adversaries.

For the aforementioned reasons I request that you accept this letter as a motion to be
considered nunc pro tunc as if raised orally before you on the day of trial, but only on the issue
raised herein for the purpose of guidance for future cases. Where a court's judgment adverse to a

litigant may have collateral legal consequences, the issue is not necessarily moot unless it is shown
Case 3:24-cv-00383-GC-JBD Document 1-1 Filed 01/22/24 Page 13 of 23 PagelD: 17

that there is no possibility of any collateral legal consequences. But, alternatively a court may

decide a moot case or determine a moot question where it is in the public interest, as guidance for

future cases.

Now that the underlying matter is decided, in favor of my client, I wish to address the
important issue of assistance of counsel by competent non-attorneys. Mr. DOE and many of our
members are unable to afford One Hundred And Fifty Dollars or more per hour for attorneys.
The choice must not be constrained by the very court that is charged with the administration of
justice to be: A) an expensive attorney that cannot be afforded, or B) proceed pro se with
limited or no experience or knowledge of the workings of a court system that with deliberation
uses Rules and even a lost language (Latin) that is designed not to be understood by the very
people that are the recipients of it's Constitutionally mandated service. The disservice derived

therein is substantially greater than the service provided.

In the matter sub judice Mr. DOE had no resources to retain a professional attorney and
was at a loss as to how to proceed. Legal aid refused his request for help because his was a civil
matter. His adversary had sent him a letter directing that he could not present to the Court any
evidence of the sexual abuse endured by his daughter. This issue presented to our member the
kind of-dilemma an "unschooled in the law" Father could not make without the very aid he could
not afford. The National Council For Children's Rights in Washington D.C. referred him to me. I
advised him that he could disregard his adversary's direction. His adversary subsequently moved

this Court to throw out that crucial evidence and was denied.

Mr. DOE and I sincerely believe that justice was done in this matter only because of the
effective assistance of New Jersey Council For Children's Rights' competent non-attorney
members. We do not claim to be attorneys nor do we hold our selves out to be an alternative to
competent legal advice. The only claim we make is that we are better than the alternative Mr.
DOE faced: no legal aid whatsoever. It is a dilemma of major proportions that this state has more

lawyers than it knows what to do with and inexpensive legal aid is not available.
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I ask that you consider my request to be allowed to assist, Mr. DOE, a member of New
Jersey Council For Children's Rights, without funds to retain an attorney, in court. Mr. DOE is
not faced with the choice of appearing pro se or retaining an attorney. He is faced with a more
demanding dilemma: should I go to court and get beat up again by my ex's agressive attorney or
should I give up with out a fight. The courts are intended to be a place where citizens can settle
their disputes in a civilized manner. However, civilized is the last thing that our courts appear to
the common man to be. He needs help. It is not his fault that the only help is costly beyond his

means. An affordable alternative must be made available.

Although this letter motion may be deemed unusual it is not without precedent. The
Federal courts, the Circuits and the U. S. Supreme Court have addressed this issue and permitted

competent non-attorneys to assist other litigants.

The first amendment right to speak for or against a cause does not end at
the courthouse door. "A state cannot foreclose exercise of constitutional rights
under First Amendment by mere labels. . . [A] State may not, under guise of
prohibiting professional misconduct by attorneys, ignore constitutional rights under
the First Amendment.". NAACP vy. Button, 83 S.Ct. 328, 371 U.S. 415, 9
L.Ed.2d 405 (1963)

"The preparation of petitions must never be considered the exclusive
prerogative of the lawyer. Laymen --- in and out of prison --- should be allowed
to act as "next friend" to any person in the preparation of any paper or document
or claim, so long as he does not hold himself out as practicing law or as being a
member of the Bar. . Reasonable access to the courts is a right (secured by the
Constitution and the laws of the United States), being guaranteed as against state
action by the due process clause of the Fourteenth Amendment." Johnsen v.
Avery, 393 U.S. 483, 498; 89 S.Ct. 747 (1969)
Case 3:24-cv-00383-GC-JBD Document 1-1 Filed 01/22/24 Page 15 of 23 PagelD: 19

“Members of groups' who are competent non-lawyers can assist other
members of the group to achieve the goals of the group in court without being
charged with "unauthorized practice of law. .. .A state cannot, by invoking the
power to regulate the professional conduct of attorneys, infringe in any way the
right of individuals and the public to be fairly represented in lawsuits authorized by
Congress to effectuate a basic public interest. Laymen cannot be expected to
know how to protect their rights when dealing with practiced and careful
adversaries (Gideon v. Wainwright, 372 U.S. 335), and for them to associate
together to help one another to preserve and enforce rights granted them. . .cannot
be condemned as a threat to legal ethics." Brotherhood of Railway Trainmen v.
Virginia ex rel. Virginia State Bar, 377 U.S. 1, 7. See also: United Mine
Workers v. Illinois Bar Association, 389 U.S. 217, Sierra Club v. Norton, 92
S.Ct.1561, United Mine Workers v. Gibbs, 383 U.S. 715

There is no question that American citizens have the right to represent one
another in the courts. The U.S. Supreme Court has said: "There is room for the
intelligent layman to practice law where lawyers cannot or will not." Johnson v.
Avery , 89 S.Ct, 747.

"_. . [A] legislative presumption is invalid when it is entirely arbitrary, or
creates an invidious discrimination, or operates to deprive a party of a reasonable
opportunity to present pertinent facts in his defense.". Bandini Co. v. Superior
Court, 284 U.S. 8, 18-19 (1931)

"[A] state may not pass statutes prohibiting the unauthorized practice of
law or to interfere with the Right of the Freedom of Speech, secured in the First

Amendment. Anyone, not a lawyer, trying to help another [or seeking help] to

: Bob VINIK and Ron DOE are members of the New Jersey Council For
Children's Rights, a group similar to that described in Brotherhood of Railway Trainmen
v. Virginia ex rel. Virginia State Bar, 377 U.S. 1, 7

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Case 3:24-cv-00383-GC-JBD Document1-1 Filed 01/22/24 Page 16 of 23 PagelD: 20

gain access to the courts cannot be denied the right under Freedom of Speech, Due
Process and Equal Protection guarantees of the United States Constitution.

If there is any truth to the old proverb that "One who is his own lawyer
has a fool for a client," the Supreme Court, by its opinion today, now bestows a
constitutional right to one to make a fool of himself." (Justice Blackmun) Faretta
v. California, 422 U.S. 806 (1972)

If a law has no other purpose than to chill assertion of constitutional rights
by penalizing those who choose to exercise them, it is patently unconstitutional.
Shapiro v. Thompson, 89 S.Ct. 1322, 394 U.S. 618, 22 L.Ed.2d 600 (1969)

".,..Where rights secured by the Constitution are involved, there can be
no rule-making or legislation which would abrogate them." Miranda v.

Arizona, 380 U.S. 436 (166)

The ability, for example, of an “unschooled in the law" citizen to enforce his Constitutional
rights under the Fifth Amendment is severely diminished without counsel. For Mr. DOE who is
unable to afford licensed counsel and is unschooled in the law, to be denied assistance of a
competent non-attorney "next friend" in defense of his legal battle, begun by his adversary and
aided by ACLU and Rutgers’ Constitutional Law Clinic, appearing as Amicus spells doom. Even
more persuasive is the fact that the forces of doom in reality were aimed at his four year old
daughter. The arguments that protect a litigant from abuse are involved and oblique. To deny
Mr. DOE aid from a competent non-attorney when that is clearly his last resort is to deny him

access to the courts.

He cannot put up sustained combat without help. While the claim itself must be made in
person by the claimant, it cannot be made without either knowledge or competent advice. "The
privilege against self incrimination is neither accorded to the passive resistant, nor the person who
is ignorant of his rights, not to one indifferent thereto. It is a fighting clause. Its benefits can be

retained only by sustained combat. It cannot be claimed by an attorney or solicitor. It is valid

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only when insisted upon by a belligerent claimant in person." U.S. v. Johnson, 76 F.Supp. 538
Without the aid and advice received from the NJCCR pro se team Mr. DOE would not have been
able to submit a brief and most assuredly would have lost the most important battle in his
daughter's life.

“All the procedural safeguards guaranteed by the Constitution to one hailed into court for
any reason must be enforced. "One need not be a criminal to claim Fifth Amendment privilege. It
applies to civil suits as well." Isaacs v. United States, 256 F.2d 654; 297 U.S. 1. Although it
is clear that Mr. DOE's case did not hinge on the Fifth Amendment, the need to be educated in the
law is the fundamental underpinning of any defense. In most all defenses and offensive actions
too, the litigant is well served to follow the advice in Johnson Supra and be a belligerent

combative litigant.

"It is the duty of the courts to be watchful for the Constitutional Rights of the citizen,
against any stealthy encroachments thereon." Boyd v. U.S., 116 U.S. 616, 635 (1885)

Furthermore, New Jersey law, 2A:170-82 (c) exempts:

"., Any organization, either corporate or otherwise, organized for
or doing charitable or benevolent work or rendering assistance to
persons without means in pursuit of any legal remedy, from
carrying out such charitable objects or from rendering such
charitable assistance."

The New Jersey Council For Children's Rights is organized for and has been doing "such
charitable assistance" for several years. The lay members of the pro se litigation team is
comprised of competent non-attorneys and law school students that volunteer or are compensated
by NAPIL grants (National Association of Public Interest Law, Wash. D.C.) for law student
assistance. Additionally, Bob Vinik and several other members of the team are volunteers at the
Prisoners Self Help Litigation Clinic at Seton Hall Law School. The Clinic is a joint project of
Case 3:24-cv-00383-GC-JBD Document 1-1 Filed 01/22/24 Page 18 of 23 PagelD: 22

ACLU and Seton Hall Law School. It is directed by staff attorney Audry Bumsey, a Seton Hall

law professor.”

Accordingly, we, New Jersey Council For Children's Rights and Bob Vinik, request this
court permit Bob Vinik and other competent non-attorney members to assist our members in
achieving our goals in court. The fundamental fairness of allowing a competent non-lawyer to
assist a person appearing pro se who has limited experience in court and cannot afford an
attorney, is obvious, notwithstanding the legitimate goal of protecting the public from

incompetent practitioners that might pray on them.

Our members are well aware that I am not an attorney. You should also be aware that I
have never held myself out to be an attorney or member of any bar, nor do I charge a fee for any

assistance I render.

THE CONSTITUTIONAL GUARANTEES DO NOT
END AT THE COURTHOUSE DOOR.

Respectfully,

Bob Vinik, Chair Pro Se Team &
Director, New Jersey Council For Children's Rights

2 The matter before this court is not connected with the clinic.

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SUPERIOR COURT OF NEW JERSEY
FREEHOLD, NEW JERSEY

]
] Docket No
]

STATE OF NEW JERSEY ] APPELLANT’S
] AMENDED BRIEF

v. ]

|

AILYN K. URUZA ] AVON MUNICIPAL COURT
]

Tickets: 24473, 24474, 24475

On the brief: BOB VINIK
908-768-8783

Dear Judge Please accept this less than formal, amended letter Brief".
1. On July 16, 2023 DEFENDANT/APPELLANT was stopped for exceeding the speed
limit and ticketed for the following offences:
1. Ticket no 24473 39:4-98 42 Mph in a 30 Mph speed limit
2. Ticket no 24474 39:3-4
3. Ticket no24475 3:4-12 7 (copies of all 3 attached)

2. On Tuesday October Seventeenth’ 2023 this defendant called the court for as required for
a Zoom hearing. She requested if the court had responded to her written submissions and
was not replied to. She then requested to have a trial to present her case, the judge

refused. He then said that if you are not satisfied, you may appeal. She responded

: Additional legal info was discovered (Stalker Radar device not certified)

; Corrected date error
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“OKAY” and the zoom call was terminated. A municipal court trial was not held., and
this appeal was produced Furthermore, Defendant/Appellant hereby invokes N.J.R.E.
201(d) Requiring this court to take judicial notice of all the things mentioned in N.J.R.E.

201 (a) and the constitutions of our country and state.

3. Defendant/Appellant is charged with speeding 39:4-98, in a 30 MPH zone. Title 39:4-98,
is a statute that specifies what the speed limits on the roadways of New Jersey are. The
speed limits specified therein are 25 Mph, 35 Mph and 50 Mph and it also allows other
speed limits if an engineering or speed study is completed and approved by the
commissioner. Therefore 30 Mph is not a legal speed limit. Defendant’s discovery request
asked for the aforementioned speed studies but none was provided’. Therefor, the 30
Mph speed limit was not proven as a legal speed limit. The speed limit if testified to by a
States witness is a rebutable presumption, at least. The defendant has rebutted it herein,
even though the courts are reluctant to give the Government’s witness that presumption.
From the officers position with the Radar unit looking south toward the approaching
traffic there was no business or residences as far as the borough of Belmar, therefore

pursuant to 39:4-98 the speed limit was fifty 50 MPH‘.

4. Therefore the testimony of the officer of a speed limit, if any, and the rebuttal herein is
standard evidence to be believed as presented, with no presumption, And, if any, it has
been effectively rebutted, as has been accomplished herein.

“Although we reaffirm Craig's general approach to the issue, we reject the
suggestion that the officer's testimony creates a "reputable presumption" of the
lawful speed in the area. In the absence of any specific statutory language, it has
been noted that "[c]ourts are generally reluctant to create presumptions." Biunno,
N.J. Rules of Evidence, comment 1 on N.J.R.E. 301 (2007).” State of New
Jersey vs Morgan 393.N.J. Super. 411; 923 A.2d 359; 2007 N.J. Super.

LEXIS 173(2007).

Appellants’s Discovery Request is attached.

If the Government wished to prove this speed limit, it must have submitted the
speed study and approval by the commissioner.

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5. The Stalker Radar unit used by the officer is not a device approved by the

Appellate division. See STATE v GREEN (attached, page 27)

“,..we do not Know whether the accuracy of the Stalker
Lidar device has been established through independent
testing. Id. at 228. In short, the device has not been
established as scientifically reliable in New Jersey,7 which
Boyington, supra, 153 N.J. Super. at 254, requires. As a
consequence, it may not be used in the trial courts as proof
of speed until its accuracy has been established at least
through the minimal type of testing used to establish the
scientific reliability of the LTI Marksman 20-20. See Laser

II, supra, 314 N.J. Super. at 237-50...”

Furthermore, the statute that prohibits speeding is 39:4-99°. However, defendant/appellant
is charged with 39:4-98 which can not be amended because there is no “Lessor Included

Offence” therein.

Although it appears that the officer thought he was operating in accord with the law, he was
not. This TERRY STOP® for a speeding violation did not result in an offence for speeding,
therefor everything that occurred thereafter was an illegal extension of the TERRY STOP

and the other two tickets must be dismissed also.

Defendant submitted these arguments to the Municipal Court but the court did not make any
response thereto The submissions submitted are attached:
1. Defendant’s demand for a Trial in a Constitutional Court of Law

2. Notice of Motion To Dismiss

2 See STATE v. GREEN A-6199-08T4 page 2 footnote (Copy Attached)
6 TERRY v. OHIO 392 U.S. 1.1968
3
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Problems with discovery:

1, Copies of both sides of tickets Provided

Z Copies of any notes Presumed there are none

3. Description of radar Provided

4 Device certification by appellate Ct Wrong info. An old case that is
overturned by State v_Green

5 History of officers training Provided

6 Training manuals from manufacture Provided

Wh. Manuals from NJ with procedure Not Provided

8 Officers log book of tickets issued Not provided

9 Witness list Not provided

10. _ List of officers discipline Not provided

11. Repair and calibration history of radar Calibration only

12. Engineering or speed study Not provided

13 Any other exculpatory info None provided

Because the discovery was not completed the tickets must be dismissed or the government

must be required to complete discovery. See STATE v. GREEN throughout.

On information and belief the discovery was produced by an AVON Police officer. Since a
member of the police department is the complaining witness they have a fiduciary interest in
the outcome of this litigation. That’s why the responsibility of completing discovery is
required by law to be on the prosecutor, not the police department. If the prosecutor does
not perform this task, the discovery produced is not legal discovery as required by law.

“_..there are very good reasons for settling this responsibility upon the prosecutor
and no one else..... It {*555} makes no sense to require witnesses to respond to
discovery demands, particularly not witnesses whose interests may be adverse to
defendants who make discovery requests..... R. 3:13-3 says that the prosecutor has
the discovery responsibility; there is no reason to read it any other way...” State v
Polasky 216 N.J. Super. 549, 524 A.2d 474 (1986)

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Lge & Mo Date: ult 2023

ALYEN K. URZUA

I, ALYLN K. URZUA, hereby certify that everything stated herein is the truth to the best of my
knowledge. If any willingly submitted untruths are discovered herein J understand I am subject to

punishment.

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ALYENK. ep Date:_// / GF ____2023

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